           Case 2:25-cv-00241-BHS             Document 101                Filed 03/27/25           Page 1 of 4




 1                                                                            The Honorable Benjamin H. Settle

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 8

 9    COMMANDER EMILY SHILLING; et al.,
                                                                    No. 2:25-cv-00241 BHS
10                         Plaintiffs,

11                  v.
                                                                    PLAINTIFFS’ NOTICE OF
                                                                    SUPPLEMENTAL AUTHORITY
12    DONALD J. TRUMP, in his official capacity as
      President of the United States; et al.,
13
                           Defendants.
14

15          Pursuant to Local Civil Rule 7(n), Plaintiffs, by and through their counsel, respectfully
16   submit this notice of supplemental authority.
17          On March 26, 2025, the United States District Court for the District of Columbia issued
18   the attached memorandum opinion and order (ECF No. 100) in Talbott v. United States, No. 1:25-
19   cv-00240 (ACR), denying the defendants’ motion to dissolve the preliminary injunction and
20   motion for a stay pending appeal and staying its order until March 28, 2025, at 7:00 pm ET. A
21   copy is attached as Exhibit A.
22          On the same day, the defendants in Talbott filed the attached notice of appeal (ECF No.
23   101) to the United States Court of Appeals for District of Columbia Circuit. A copy is attached as
24   Exhibit B.
25          Dated this 27th day of March 2025.
26
     NOTICE OF SUPPLEMENTAL                     Perkins Coie LLP            Lambda Legal Defense and         Human Rights Campaign
                                         1201 Third Avenue, Suite 4900         Education Fund, Inc.                Foundation
     AUTHORITY                           Seattle, Washington 98101-3099      120 Wall Street, 19th Floor   1640 Rhode Island Avenue NW
                                               Phone: 206.359.8000          New York, NY. 10005-3919          Washington, D.C. 20036
     CASE NO. 2:25-CV-00241 BHS                 Fax: 206.359.9000             Telephone: 212-809-8585        Telephone: (202) 568-5762
          Case 2:25-cv-00241-BHS       Document 101                Filed 03/27/25           Page 2 of 4




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          Case 2:25-cv-00241-BHS       Document 101                Filed 03/27/25           Page 4 of 4




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